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            IN THE UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION
TYLER GRIFFIN,              )
                            )
         Plaintiff,         )
                            )
v.                          ) CIVIL ACTION NO: 1:20-cv-2514-TWT
                            )
CITY OF ATLANTA, DONALD )
VICKERS, MATTHEW ABAD,      )
and JOHN DOE # 1-5,         )
                            )
         Defendants.        )

             DEFENDANTS’ RESPONSE IN OPPOSITION TO
             PLAINTIFF’S RENEWED MOTION TO COMPEL

      COME NOW, Defendants City of Atlanta, Donald Vickers, and Matthew

Abad (collectively, “City Defendants”) and file this Defendants’ Response in

Opposition to Plaintiff’s Renewed Motion to Compel. In support thereof, the City

Defendants offer the following:

             I.    ARGUMENT AND CITATION TO AUTHORITY

      A. Plaintiff’s Counsel Failed to Comply with Its Duty to Confer.

      FED. R. CIV. P. 37 states that a “motion [to compel] must include a

certification that the movant has in good faith conferred or attempted to confer with

the person or party failing to make disclosure or discovery in an effort to obtain it

without court action.” The duty to confer in good faith is a prerequisite to filing
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a motion to compel discovery and without a significant showing by the movant that

this was done such a motion will be denied.1 “The failure to make a good faith effort

to confer with an opposing party about a discovery dispute is sufficient grounds to

deny a motion to compel.”2

      While Plaintiff's original and renewed motions to compel both include a

certification declaring an attempt in good faith to confer was made, such is not

reality. Plaintiff's third requests for production3 to Defendant City of Atlanta

demanded the disclosure of what would surmount to thousands of pages of discovery

and countless manhours to create documents that at this time do not exist. Less than

24 hours upon receipt of the City’s responses and objections, Plaintiff’s counsel sent

a letter the following morning demanding production.4

      Specifically, and without conferring with defense counsel, Plaintiff’s counsel

stated the information sought from Request No. 37 “is relevant and the City must

produce it.”5 Plaintiff’s counsel further stated that “[t]he City must supplement its



1
   See Driscoll v. Shuttler, 115 F.R.D. 571, 574-75 (N.D. Ga. 1987); Madden v.
    Cleland, 105 F.R.D. 520, 526 (N.D. Ga. 1985).
2
  Bird v. Cap. One Bank (USA), N.A., 2014 WL 12863168, at *3 (N.D. Ga. Oct. 15,
    2014) (Citing Jones v. American General Life and Accident Ins. Co., 2002 WL
    32073037, at *2 (S.D. Ga. 2002) (Not Reported)).
3
  Doc. 77-3.
4
  Doc. 77-6.
5
  Id. at p. 2.
                                         2.
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response” in relation to Request No. 38 suggesting clear relevance to the Monell

claim.6 Finally, Plaintiff’s counsel concluded the letter with the following language:

                   We think the relevance of these requests is clear. Please
                   supplement your responses no later than Friday,
                   November 27, 2020 at 4:00pm. We are happy to have a
                   phone call between now and then if you think it would
                   help, but if we are unable to get the documents by next
                   week, we will have to move to compel.7

         On Monday November 23, 2020, undersigned counsel held a phone

conference with opposing counsel informing them that due to the nature of the

requests there was an inability to turn over these documents, especially given the

time frame and overbreadth nature of the request. Attempting to resolve the dispute,

undersigned counsel suggested that Plaintiff narrow the scope of the requests.

         Rather than attempt to modify or work to an agreeable solution in good faith,

Plaintiff’s counsel chose to exercise the only option presented in the November 21,

2020 letter by filing its motion. Such facts are hardly representative of an attempt by

Plaintiff's counsel to confer in good faith. Plaintiff’s counsel, as evidenced by its




6
    Id.
7
    Id. at p. 3.
                                              3.
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initial8 and final9 statements relating to Plaintiff’s third requests for production,

never had the intention to confer in good faith or seek to resolve the dispute.

Production of the documents was demanded and without full compliance from the

City, Plaintiff’s counsel threatened a motion to compel. Plaintiff’s counsel has not

presented a significant showing otherwise; therefore, Plaintiff has not satisfied the

prerequisite for filing this renewed motion to compel. Thus, City Defendants

respectfully request this Court deny Plaintiff’s renewed motion to compel for failure

to comply with FED. R. CIV. P. 37.

      B. Federal Rule of Civil Procedure 26’s Scope and Limitations.

      Pursuant to FED. R. CIV. P. 26:

             Unless, otherwise limited by court order, the scope of
             discovery is as follows: Parties may obtain discovery
             regarding any nonprivileged matter that is relevant to any
             party's claim or defense and proportional to the needs of
             the case, considering the importance of the issues at
             stake in the action, the amount in controversy, the parties'
             relative access to relevant information, the parties'
             resources, the importance of the discovery in resolving
             the issues, and whether the burden or expense of the
             proposed discovery outweighs its likely benefit.10


8
  Doc. 77-3 at p. 2 (Plaintiff’s counsel stated, “Plaintiff will agree to any reasonable
   extension as long as, by the extended deadline, Defendant responds as specified
   above so that no more back-and-forth will be required before Plaintiff is in
   possession of all properly-requested, non-privileged evidence and information.”).
9
  Doc. 77-6 at p. 3.
10
   FED. R. CIV. P. 26. Emphasis added.
                                            4.
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However, “[t]he discovery rules do not permit [a party] to go on a fishing

expedition.”11 Additionally, a court is not required to grant a motion to compel where

the requesting party makes no attempt to narrow the request.12 Similarly, the

discovery rules do not require a party to create a new document when responsive

documents do not exist.13 Where the burden of a discovery request outweighs its

benefits, a court does not abuse its discretion in denying discovery.14

      C. Plaintiff’s Discovery Requests Are Unduly Burdensome, Speculative,
         Require the Creation of New Documents, and Not Reasonably
         Calculated to Lead to the Discovery of Relevant and/or Admissible
         Evidence.

      In Plaintiff’s third requests for production of documents, Request number 37

reads as follows:

                                         37.

             Please produce all documents, including, but not limited
             to memos, letters, and reports, whereby a City of Atlanta
             Police Department employee recommended, requested, or
             demanded, that a police officer’s final disposition
             following an OPS investigation into the use of excess
             force be changed from “sustained” to “not sustained,”
11
   Corines v. Broward County Sheriff ’s Dept., 326 Fed.Appx. 493, 498 (11th Cir.
   2009) (citing Porter v. Ray, 461 F.3d 1315, 1324 (11th Cir. 2006)).
12
    Wright v. AmSouth Bancorporation, 320 F.3d 1198, 1205 (11th Cir.2003)
   (seeking discovery of disks or files created, modified, and/or accessed by the
   employees over a two and one-half year period).
13
   Leidel v. Coinbase, Inc., 2019 WL 1585137, *2 (S.D. FL. Apr. 12, 2019); Alston v.
   Swarbrick, 2-17 WL 11489871, *2 (M.D. FL. Sept. 1, 2017).
14
   Shannon v. Albertelli Firm, P.C., 610 Fed.Appx. 866, 871 (11th Cir. 2015).
                                          5.
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               “exonerated,” or “unfounded,” from January 1, 2015
               through the present.15

The City responded that the request was “overly broad, unduly burdensome, and

not sufficiently limited to lead to the discovery of relevant or admissible evidence.”

         The City asserts that Request No. 37 is unduly burdensome because a

determination as to the number of “use of force” complaints that received a

recommendation of sustained from the Atlanta Police Department’s (APD) Office

of Professional Standards (OPS) and the employee requested the determination be

changed from sustained to another finding would take a case-by-case analysis of all

use of force cases received from January 1, 2015 until present. This type of

information requested by Plaintiff is not kept in the ordinary course of business and

would require the City to create records and/or exemplars that do not exist.

         Additionally, although the OPS IAPro system compiles and tracks all

complaints submitted to OPS, it does not track whether a recommendation was

changed from sustained to any other outcome after the recommendation was made

by OPS. This information was relayed to Plaintiff’s counsel while seeking to confer to

resolve the discovery dispute. Thus, Request No. 37 would require countless

manhours to perform a case-by-case analysis of hundreds of investigations, over



15
     Doc. 77-3 at p. 4.
                                          6.
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the past six (6) years, to determine the number of complaints that were sustained in

OPS and then later requested by the employee for another outcome. The analysis

would also require a review of every memo submitted by a commanding officer

justifying the request to change the OPS recommendation. As a result, Request No.

37 is unduly burdensome.

         The information in Request No. 37 that Plaintiff seeks to uncover is not

sufficiently limited to lead to the discovery of relevant or admissible evidence.

Plaintiff argues in his renewed motion to compel that the Monell claim is based on

actions following an OPS investigation of excessive force. Plaintiff further argues

that there is a ‘widespread practice of failing to discipline its police officers” for

excessive use of force.16 However, Plaintiff refuses to narrow his requests to cover

excessive force claims involving the physical use of force.

         Request No. 37 is further complicated by the fact that “use of force”, as defined

by APD, includes the physical use of force, the use of an asp baton, pepper spray,

taser, and firearm. For purposes of the subject proceeding, four of the five categories

of “use of force” are not categories consistent with or relevant to the present matter

as the amount of force necessary and required to arrest depends on the totality of the




16
     Doc. 77-2 at p. 5.
                                             7.
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circumstances surrounding the arrest.17 Requiring the City to review and produce

“use of force” investigations where the legal standard and requirements for such use

have no relevance to the underlying claims of the present matter is the definition of

burdensome. This is exactly the type of “fishing expedition whose burdens and

expenses outweigh their likely benefit.”18

      The proportionality requirement of FED. R. CIV. P. 26 requires the

consideration of whether the information is discoverable in view of the needs of the

case.19 Request No. 38 is unduly burdensome and irrelevant because the time and

effort required to produce the requested documentation is not proportional to the

needs of this case and would not produce relevant information.

      Request number 38 reads as follows:

                                         38.

             Please produce all documents relating to OPS
             investigations into the use of excessive force where the City
             of Atlanta Police Department received a letter from the
             Atlanta Citizen Review Board recommending that an
             allegation of excessive force be “sustained,” but the City
             of Atlanta found otherwise, e.g., “not sustained,”
             “exonerated,” or “unfounded,” from January 1, 2015
             through the present.20

17
   Tennessee v. Garner, 471 U.S. 1, 11 (1985).
18
   Shannon, 610 Fed.Appx. at 871.
19
   Rollins v. Cone Distributing, Inc., 710 Fed.Appx. 814, 819 (11th Cir. 2017); Alston,
   2017 WL 11489871 at *3.
20
   Doc. 77-3 at p. 4-5.
                                            8.
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         As an initial matter, Request No. 38 requests an analysis of documentation

that is not kept in the ordinary course of business. OPS does not keep a running

tally of cases in which OPS and the Atlanta Citizen’s Review Board (ACRB)

disagree. In fact, there is no requirement in the Atlanta City Code or APD Standard

Operating Procedures (SOPs) that the ACRB and OPS agree as to recommendations

of discipline. Thus, a requirement that the City Defendants search the databases of

two City agencies to determine how often the two agencies – who are not required

to agree and have used different standards to evaluate matters – disagreed is an

exercise in futility that is not proportional to either the needs of the present matter or

the legal determination and resolution of the claims presented in Plaintiff’s

Complaint. For those reasons, City Defendants respectfully request the Court reject

Plaintiff’s assertion that he is entitled to said documentation.

         Dubious requests should not be mandated. In Plaintiff’s third requests for

production of documents, Request number 39 reads as follows:

                                           39.

               Please produce all OPS recommendations to sustain
               allegations of excessive force against City of Atlanta
               police officers from January 1, 2015 through the present.21




21
     Doc. 77-3 at p. 5.
                                            9.
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         In Brooks v. Scheib, 813 F.2d 1191, 1193 (11th Cir. 1987), the Eleventh

Circuit held that “the number of complaints [of police misconduct] bears no relation

to their validity.” Furthermore, “[t]he relevance of past complaints against police

officers is especially dubious since officers in high crime areas attract a greater

number of citizens’ complaints.”22

         Here, Plaintiff has requested the same type of information that the Eleventh

Circuit has determined to be “dubious” and that “bears no relation to the validity” of

the underlying claims. Furthermore, Plaintiff’s request is not limited to the use of

physical force, which requires a different analysis than the use of lethal or deadly

force.23 Thus, the City should not be required to respond to Request No. 39 because

in addition to its dubious nature, it is also overly broad as it includes “use of force”

categories that are neither relevant to nor indicative of the type of use of force claimed

in the instant action.

         Plaintiff’s Request No. 40 is both overly broad, for the reasons outlined above

in response to Request No. 39, and irrelevant. Request No. 40 states:

                                           40.

               For every City of Atlanta police officer whom OPS
               investigated for the use of excessive force and
               recommended the allegation be sustained from January 1,

22
     Brooks v. Scheib, 813 F.2d 1191, 1194 (11th Cir. 1987).
23
     Tennessee v. Garner, 471 U.S. 1, 11 (1985).
                                           10.
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             2015 through the present, please produce that officer’s
             Performance Evaluation for the period in which the use of
             excessive force occurred. Note: For example, if OPS
             investigated and recommended an allegation of excessive
             force be sustained against Officer John Smith arising from
             an incident that occurred on June 5, 2018, Officer’s
             Smith’s 2018 Performance Evaluation would be
             responsive.24

      The potential discoverable information from this inquiry is irrelevant where

both Sgt. Reese and former APD Chief Erika Shields testified that as supervisors in

APD, they were not always aware of OPS investigations involving their

subordinates when assessing performance evaluations.25 As the mere initiation of a

complaint does not ensure its validity26, the fact that a supervisor is not aware of a

pending investigation has little to no bearing on whether a subordinate officer has

adequately performed their duties on a daily basis within the six (6) months to a

year that is covered in the performance evaluation. Thus, Plaintiffs’ request that the

City produce performance evaluations for every officer that was sustained on a use

of force violation requests documents that are unduly burdensome; the burden of the




24
   Doc. 77-3 at p. 5.
25
   30(b)(6) Deposition of the City of Atlanta through Quentin Reese, 23:1 – 23;
   Deposition of former APD Chief Erika Shields, 82:19 – 23.
26
   Brooks, 813 F.2d at 1193.
                                       11.
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proposed discovery outweighs its likely benefit, and the requested documents bear

no importance to the resolution of the issues presented in Plaintiff’s Complaint.27

      Finally, Plaintiff asserts entitlement to documents stemming from Request No.

41 which states:

                                         41.

             Please produce all complaints, grievances, or other
             documents, where a City of Atlanta police officer
             complained that he or she experienced retaliation,
             retribution, or other negative treatment, after he or she
             either: (a) reported another officer for the use of excessive
             force, (b) offered a statement adverse to another officer
             accused of excessive force, or (c) testified in an official
             proceeding in a manner adverse to another police officer
             accused of excessive force.28

      Request No. 41 requests documentation that is speculative, at best. Plaintiff

has produced no evidence indicating that an APD officer has ever complained of

retaliation based upon a report of excessive force and the City has found none. “The

discovery process should not be a fishing expedition to learn if the speculative,

conclusory allegations have any basis in fact.”29 Through Request No. 41, the

Plaintiff seeks to use discovery to do just that. Thus, City Defendants respectfully



27
   FED. R. CIV. P. 26.
28
   Doc. 77-3 at p. 5-6.
29
   Dubose v. City of Hueytown, 2016 WL 3854241, *12 (N.D. AL. July 15, 2016)
   (citing Iqbal, 556 U.S. at 679-80).
                                       12.
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request the Court reject Plaintiff’s assertions and deny the renewed motion to compel

in respect to Request No. 41.

                                    CONCLUSION

      For the foregoing reasons, the City Defendants respectfully request that this

Court deny Plaintiff’s Renewed Motion to Compel. In addition to failing to confer

and despite Plaintiff’s coloring of the facts of this case, Plaintiff’s discovery requests

are unduly burdensome, overly broad and/or irrelevant, speculative, and request

documents and/or information that is not kept in the ordinary course of business by

the City of Atlanta. As a result, Plaintiff is not entitled to the discovery requested.

      Respectfully submitted this the 11th day of March 2021.

                                                 /s/ Alisha Marie S. Nair
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VICKERS, MATTHEW ABAD,      )
and JOHN DOE # 1-5,         )
                            )
         Defendants.        )

                               CERTIFICATION

      Counsel for the City Defendants hereby certifies that the foregoing has been

prepared with Times New Roman font, 14 point, and therefore it complies with the

requirements of L.R. 5.1(C).

                                             /s/ Alisha Marie S. Nair
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                                             Attorney
                                             Georgia Bar No. 806033
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                                       14.
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VICKERS, MATTHEW ABAD,      )
and JOHN DOE # 1-5,         )
                            )
         Defendants.        )

                         CERTIFICATE OF SERVICE

      This is to certify that on this day DEFENDANTS’ RESPONSE IN

OPPOSITION TO PLAINTIFF’S RENEWED MOTION TO COMPEL; was

electronically filed using this Court’s CM/ECF filing system and all parties listed

below were served electronically as follows:

                           JAMES E. BUTLER, III
                            MATTHEW R. KAHN
                     10 Lenox Pointe Atlanta, Georgia 30324

            This the 11th day of March 2021.

                                               /s/ Alisha Marie S. Nair
                                               ALISHA MARIE S. NAIR
                                               Attorney
                                               Georgia Bar No. 806033
                                               amnair@atlantaga.gov


                                       15.
